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EXHIBIT P
Case 3:09-cv-05191-CRB Document127-16 Filed 01/21/11 Page2of5

Brenner, Wendy

From: Anna Levine [alevine@dralegal.org]
Sent: Tuesday, December 21, 2010 4:18 PM
To: Brenner, Wendy

Ce: Tenhoff, Gregory

Subject: RE: Enyart v. NCBE

Attachments: Letter.to.NCBE.re-3rd.Pl.pdf

Dear Wendy and Greg,
Please see attached letter.
Thanks,

Anna

Anna Levine, Staff Attorney
Disability Rights Advocates

2001 Center Street, Third Floor
Berkeley, California 94704-1204

510 665 8644 (Tel)
510 665 8716 (TTY)
510 665 8511 (Fax)

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wean Original Message-----

From: Brenner, Wendy [mailto:BRENNERWJ@cooley.com]
Sent: Monday, December 20, 2010 9:49 AM

To: Anna Levine; Larry Paradis

Subject: FW: Enyart v. NCBE

Larry & Anna — please see attached letter regarding Ms. Enyart’s requested modifications to the previous injunctions.

Wendy Brenner

Cooley LLP

3175 Hanover Streei

Palo Alto, CA 94304-1130

Direct: (650) 843-5371 « Fax: (650) 849-7400

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Gregory Tenhoff

Wendy Brenner

Cooley Godward Kronish, LLP
Five Palo Alto Square

3000 E] Camino Real

Palo Alto, CA 94306-2155

December 21, 2010

Re: Enyart v. National Conference of Bar Examiners
Potential Injunction for February 2011 Bar Exam

Dear Ms. Brenner and Mr. Tenhoff,

Thank you for your letter dated December 20, 2010, responding
to Ms. Enyart’s requested modification to the second preliminary
injunction order.

Unfortunately, what NCBE proposes in the December 20, 2010
letter does not guarantee that testing of the accommodations prior to
the examination will have any meaning. The order must provide not only
the opportunity to identify problems, but a meaningful opportunity to fix
problems that may occur. What NCBE proposes cannot do so if the
problem is of a nature that cannot be fixed on site without administrative
privileges. For NCBE to provide both opportunities, someone must be
available who has administrative privileges, at the very least in the
event that a probiem is identified on February 17, 2011.

Therefore, a solution—and the preliminary injunction order—
must include the opportunity for someone with administrative privileges
to address any problem that requires such privileges. This can be done
either by having such a person on site or with remote access.

The prior administrations demonstrate that without administrative
privileges the universe of what can be fixed on site is severely bounded.
At the test administration in February 2010, Stephanie was told that
NCBE did not have the ability to fix a problem with the MS Word font,
because the program settings had been locked and no one was
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available with the capacity to change them. At the test administrations in July and
August 2010, NCBE did not have the ability to fix a problem with the screen reading
software that it had loaded on the computer. Again, no one was available with the
capacity to make suggested changes, such as removing an expired anti-virus program,
that technical support told Stephanie might fix the problem.

We further wish to get clarity on one of the terms in your letter. We requested that
NCBE make its laptop available on Thursday, February 17, 2011 for inspection by
Stephanie and a technical person of Stephanie's choice to make certain that the
software is loaded in such a way that it works. Your response states that “NCBE will
make the NCBE-provided laptop available to Ms. Enyart for inspection and set-up on
February 17, 2011, and provide her with access again on February 21, 2011." We want
to clarify that at the inspection on February 17, 2011, Stephanie may be allowed to bring
with her a person with assistive technology expertise, to help identify and, if necessary,
fix any problems that arise with the software or hardware. If a problem is identified on
February 17 that cannot be resolved on that date, NCBE should communicate with
Stephanie between February 17 and February 21 if the identified problem has been
fixed during that interval, or if NCBE has determined that the problem will not be fixed
by February 21. If NCBE has determined that the problem will not be fixed by February
21, 2011, Stephanie should have access to the same person with assistive technology
expertise on February 21, to help try to fix the problem on that date.

We look forward to your response. We expect to be able to provide the court by
December 22, 2010 with a reply regarding the terms to which the parties have agreed,
and terms, if any, requiring a further motion, and thus precluding a stay of proceedings.
Sincerely,

Cf La

Anna Levine

